440 F.2d 379
    UNITED STATES of America, Plaintiff-Appellee,v.Roy HILL, Defendant-Appellant.
    No. 30857 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    April 6, 1971.
    
      Appeal from the United States District Court for the Middle District of Georgia; William E. Bootle, Chief Judge.
      Floyd M. Buford, Macon, Ga., for defendant-appellant.
      William J. Schloth, U. S. Atty., D. L. Rampey, Jr., Asst. U. S. Atty., Macon, Ga., for plaintiff-appellee.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    Judgment affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir. See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431 F.2d 409, Part I
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 430 F.2d 966 (5th Cir. 1970)
      
    
    